        Case
          Case
             23-30960
               23-30960Document
                         Document
                                131-14
                                  127 Filed
                                       FiledininTXSB
                                                 TXSBon
                                                      on07/25/23
                                                         07/27/23 Page
                                                                   Page11ofof317




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    In re:                                                   §
                                                             §               Case No. 23-30960 (jpn)
    Sourcewater, Inc. dba Sourcenergy,                       §
                                                             §                      Chapter 11
               Debtor.                                       §                     Subchapter V


      PLAN SUPPLEMENT IN CONNECTION WITH THE DEBTOR’S PLAN OF
      REORGANIZATION PURSUANT TO § 1190 OF THE BANKRUPTCY CODE


          1.       On March 3, 2023, the Debtor1 commenced a voluntary case under Chapter 11,

Subchapter V of the Bankruptcy Code in the in the United States Bankruptcy Court for the

Southern District of Texas (“Bankruptcy Court”).

          2.       On June 15, 2023, the Debtor filed its Plan.2 In accordance with the Plan, the

Debtor hereby files certain exhibits to the plan supplement (as may be modified, amended, or

supplemented, “Plan Supplement”).

                      Exhibit A                Terms of Exit Facility

                      Exhibit B                Schedule of Rejected Contracts

                      Exhibit C                Schedule of Retained Causes of Action

                      Exhibit D                Bankruptcy Code Section 1129(a)(5) Disclosures

                      Exhibit E                Litigation Intellectual Property Counsel

          3.       As defined in the Plan, the Plan Supplement means the supplemental documents,

schedules, and exhibits to the Plan to be Filed by the Debtor containing substantially final forms



1
    Capitalized terms not defined herein have the meaning ascribed to them in the Plan.
2
    ECF No. 94.

PLAN SUPPLEMENT IN CONNECTION WITH THE DEBTOR’S PLAN OF REORGANIZATION PURSUANT TO § 1190 OF
THE BANKRUPTCY CODE                                                                  PAGE | 1
        Case
          Case
             23-30960
               23-30960Document
                         Document
                                131-14
                                  127 Filed
                                       FiledininTXSB
                                                 TXSBon
                                                      on07/25/23
                                                         07/27/23 Page
                                                                   Page22ofof317




of, among other things, a schedule containing a non-exhaustive list of the potential Causes of

Action of the Debtor to be preserved for the Reorganized Debtor, the identity of IP Counsel if

such counsel is retained with sufficient time prior to the Confirmation Hearing to make such

disclosure feasible, a schedule of executory contracts and unexpired leases the Debtor is

rejecting under the Plan pursuant to § 365(a) of the Bankruptcy Code, and a schedule of the

persons who will serve as officers and directors of the Reorganized Debtor. The Debtor shall

have the right to amend all of the documents contained in, and exhibits to, the Plan Supplement

through the Effective Date.

         4.    The documents contained in the Plan Supplement are integral to, and are

considered part of, the Plan. These documents have not yet been approved by the Bankruptcy

Court. If the Plan is confirmed, the documents contained in this Plan Supplement will be

approved by the Court pursuant to the Confirmation Order.

         5.    The Plan Supplement documents attached hereto remain subject to (i) further

review, negotiations, and modifications, and (ii) final documentation in a manner consistent

with the Plan. The Debtor reserves all rights to amend, modify, or supplement the Plan

Supplement, and any of the documents contained therein, in accordance with the terms of the

Plan.

         6.    If material amendments or modifications are made to any of these documents,

the Debtor will file a redline with the Court marked to reflect the same.

         7.    A hearing to consider confirmation of the Plan is currently scheduled to begin on

August 1, 2023 at 9:30 a.m. (Central Time) before the Court (“Confirmation Hearing”).




PLAN SUPPLEMENT IN CONNECTION WITH THE DEBTOR’S PLAN OF REORGANIZATION PURSUANT TO § 1190 OF
THE BANKRUPTCY CODE                                                                  PAGE | 2
     Case
       Case
          23-30960
            23-30960Document
                      Document
                             131-14
                               127 Filed
                                    FiledininTXSB
                                              TXSBon
                                                   on07/25/23
                                                      07/27/23 Page
                                                                Page33ofof317




       8.      Copies of the exhibits contained in this Plan Supplement, and all documents filed

in this chapter 11 case, including the Plan, are available from the Court’s website at

https://ecf.txsb.uscourts.gov in accordance with the procedures and fees set forth therein.

       Dated: July 25, 2023

                                             CHAMBERLAIN, HRDLICKA, WHITE,
                                                WILLIAMS & AUGHTRY, P.C.

                                             By: /s/Michael K. Riordan
                                             Jarrod B. Martin
                                             Texas Bar No. 24070221
                                             Michael K. Riordan
                                             Texas Bar No. 24070502
                                             1200 Smith Street, Suite 1400
                                             Houston, TX 77002
                                             T: 713.658.1818
                                             F: 713.658.2553
                                             E: jarrod.martin@chamberlainlaw.com
                                                michael.riordan@chamberlainlaw.com

                                             Counsel for the Debtor

                                CERTIFICATE OF SERVICE

        The undersigned certifies that on July 25, 2023, a true and correct copy of the
 foregoing Supplement was served electronically on all parties registered to receive
 electronic notice of filings in this case via this Court’s ECF notification system and via First-
 Class, postage pre-paid United States mail on all parties on the attached Creditor Matrix,
 including the Top-Twenty Unsecured Creditors.


                                             /s/ Michael K. Riordan
                                             Michael K. Riordan




PLAN SUPPLEMENT IN CONNECTION WITH THE DEBTOR’S PLAN OF REORGANIZATION PURSUANT TO § 1190 OF
THE BANKRUPTCY CODE                                                                  PAGE | 3
Case
 Case23-30960
      23-30960 Document
                Document131-14
                         127-1 Filed in TXSB on 07/25/23
                                                07/27/23 Page 1
                                                              4 of 2
                                                                   17




                 Exhibit A
     Case
      Case23-30960
           23-30960 Document
                     Document131-14
                              127-1 Filed in TXSB on 07/25/23
                                                     07/27/23 Page 2
                                                                   5 of 2
                                                                        17




                                   Terms of the Exit Facility

        On the Effective Date of the Plan, through the Exit Facility, Joshua Adler will make
available to the Reorganized Debtor the funds needed to make the payments described in
Article V(B) of the Plan if and to the extent that the Debtor cannot make such payments from
available cash. The Exit Facility will be a continuation of the DIP Loan and the Exit Financing
shall be repaid in the same manner as the DIP Loan. However, the Reorganized Debtor shall not
be required to file a notice of borrowing with the Court to the extent the Reorganized Debtor makes
a draw on the Exit Facility.
        The final order approving the DIP Loan is available at ECF No. 77 and a copy of the
Secured Promissory Note between the Debtor and Joshua Adler in connection with the DIP Loan
is available at ECF No. 39-1.
       The Debtor reserves all rights to amend, revise, or supplement this Exhibit A to the
Plan Supplement, and any of the documents and designations contained herein, at any time
before the Effective Date of the Plan, or any such other date as may be provided for by the
Plan or by order of the Bankruptcy Court.




EXHIBIT A                                                                                 PAGE | 1
Case
 Case23-30960
      23-30960 Document
                Document131-14
                         127-2 Filed in TXSB on 07/25/23
                                                07/27/23 Page 1
                                                              6 of 2
                                                                   17




                 Exhibit B
     Case
      Case23-30960
           23-30960 Document
                     Document131-14
                              127-2 Filed in TXSB on 07/25/23
                                                     07/27/23 Page 2
                                                                   7 of 2
                                                                        17




                              Schedule of Rejected Contracts

       Rejected Contracts: None.

       The Debtor reserves all rights to amend, revise, or supplement this Exhibit B to the
Plan Supplement, and any of the documents and designations contained herein, at any time
before the Effective Date of the Plan, or any such other date as may be provided for by the
Plan or by order of the Bankruptcy Court.




EXHIBIT B                                                                          PAGE | 1
Case
 Case23-30960
      23-30960 Document
                Document131-14
                         127-3 Filed in TXSB on 07/25/23
                                                07/27/23 Page 1
                                                              8 of 3
                                                                   17




                 Exhibit C
     Case
      Case23-30960
           23-30960 Document
                     Document131-14
                              127-3 Filed in TXSB on 07/25/23
                                                     07/27/23 Page 2
                                                                   9 of 3
                                                                        17




                              Schedule of Retained Causes of Action

        In accordance with and as provided by section 1123(b) of the Bankruptcy Code, Article
V(J) of the Plan, any and all Causes of Action of the Debtor (collectively, “Retained Causes of
Action”), whether arising before or after the Petition Date, including, but not limited to, any
actions specifically enumerated herein, and such rights to commence, pursue, prosecute, and/or
settle such Causes of Action (including, without limitation, any avoidance action, preference, or
other claim pursuant to § 362 or chapter 5 of the Bankruptcy Code) shall be preserved
notwithstanding the occurrence of the Effective Date. The Reorganized Debtor shall retain and
may enforce all rights to commence, pursue, prosecute, and/or settle, as appropriate, each of the
Retained Causes of Action.

       As provided by Article V(J) of the Plan and other applicable provisions of the Plan, the
Reorganized Debtor shall have, retain, reserve, and be entitled to assert all such claims, Causes of
Action, rights of setoff or recoupment, and other legal or equitable defenses as fully as if the
Bankruptcy Case had not been commenced.

         Unless any Causes of Action against an Entity are expressly waived, relinquished,
exculpated, released, compromised, or settled under the Plan or pursuant to a Bankruptcy Court
order in these Chapter 11 Cases, the Reorganized Debtor expressly reserves all Causes of Action
for later adjudication, and, therefore, no preclusion doctrine, including the doctrines of res judicata,
collateral estoppel, issue preclusion, claim preclusion, waiver, estoppel (judicial, equitable, or
otherwise), or laches, shall apply to such Causes of Action upon, after, or as a consequence of
confirmation or consummation of the Plan.

       No Entity may rely on the absence of a specific reference in the Confirmation Order,
the Plan, or the Plan Supplement to any Cause of Action against it as any indication that the
Reorganized Debtor will not pursue any and all available Causes of Action against it. The
Reorganized Debtor expressly reserves all rights to prosecute any and all Causes of Action
against any Entity, except as otherwise expressly provided in the Plan.

        In accordance with § 1123(b)(3) of the Bankruptcy Code and Article V(J) of the Plan,
except as otherwise provided in the Plan, herein, or in the Confirmation Order, any Causes of
Action that a Debtor may hold against any Entity shall vest in the applicable Reorganized Debtor.
The applicable Reorganized Debtor, through its authorized agents or representatives, shall retain
and may exclusively enforce any and all such Causes of Action. The Reorganized Debtor shall
have the exclusive right, authority, and discretion to determine, initiate, file, prosecute, enforce,
abandon, settle, compromise, release, withdraw, or litigate to judgment any such Causes of Action,
and to decline to do any of the foregoing without the consent or approval of any third party or
further notice to, or action, order, or approval of, the Bankruptcy Court.

       Notwithstanding and without limiting the generality of Article V(J) of the Plan, unless
otherwise released by the Plan or prior order of the Court, any and all claims and Causes of Action
including, but not limited to, the following, are expressly reserved by the Reorganized Debtor:




EXHIBIT C                                                                                     PAGE | 1
       Case
        Case23-30960
             23-30960Document
                      Document131-14
                               127-3 Filed
                                     Filedin
                                           inTXSB
                                             TXSBon
                                                  on07/27/23
                                                    07/25/23 Page
                                                             Page10
                                                                  3 of
                                                                     of317




         claims related to insurance contracts and insurance policies to which the Reorganized
          Debtor is a party or pursuant to which the Reorganized Debtor has any rights whatsoever,
          including but not limited to, indemnity, contribution, reimbursement, overpayment of
          premiums and fees;
         claims related to tax obligations and refunds;
         claims, defenses, cross-claims, indemnification, third-party claims, and counterclaims
          related to litigation and possible litigation, whether based in tort, contract, equity, or
          otherwise, including any personal injury claims and wrongful death actions, as well as all
          claims against or related to all entities that are party to or that may in the future become
          party to arbitration, or any other type of adversarial dispute resolution proceeding, whether
          formal or informal, or judicial or non-judicial;
         claims related to contracts and leases against vendors, suppliers of goods or services, or
          any other parties;
         claims related to accounts receivable and accounts payable;
         claims related to postings of a security deposit, adequate assurance payment, or any other
          type of deposit, prepayment, or collateral regardless of whether such posting of a security
          deposit, adequate assurance payment, or any other type of deposit, prepayment, or
          collateral is specifically identified herein;
         claims related to current or former employee matters;
         related party claims;
         claims, defenses, appeals, cross-claims, and counterclaims related to any claims or actions
          asserted by any Governmental Unit,
         claims related to vendor obligations;
         claims related to current or former employee matters;
         claims related to avoidance actions, preferences, or other claims pursuant to chapter 5 of
          the Bankruptcy Code; and
         all other Causes of Action.

        Notwithstanding and without limiting the generality of Article V(J) of the Plan and the
foregoing, the Reorganized Debtor expressly reserves its rights with respect to all Causes of Action
that are not expressly released under the Plan, including all Causes of Action that have been or
could be asserted in or in connection with the potential causes of action described in Part 10 of the
Debtor’s Schedule A|B in response to Question 751 and all Causes of Action that have been or
could be asserted against former employee of the Debtor Ian Killough.

       The Debtor reserves all rights to amend, revise, or supplement this Exhibit C to the
Plan Supplement, and any of the documents and designations contained herein, at any time
before the Effective Date of the Plan, or any such other date as may be provided for by the
Plan or by order of the Bankruptcy Court.




1
    See ECF No. 36, p. 16. For the avoidance of confusion, these potential Causes of Action are identified on PDF
    page 16 of ECF. No. 36, but on page 8 of Schedule A/B itself.


EXHIBIT C                                                                                                 PAGE | 2
Case
 Case23-30960
      23-30960Document
               Document131-14
                        127-4 Filed
                              Filedin
                                    inTXSB
                                      TXSBon
                                           on07/27/23
                                             07/25/23 Page
                                                      Page11
                                                           1 of
                                                              of217




                 Exhibit D
    Case
     Case23-30960
          23-30960Document
                   Document131-14
                            127-4 Filed
                                  Filedin
                                        inTXSB
                                          TXSBon
                                               on07/27/23
                                                 07/25/23 Page
                                                          Page12
                                                               2 of
                                                                  of217




                                Disclosures Under § 1129(a)(5)

       In accordance with Article IV(C) of the Plan, Joshua Adler is the Debtor’s Chief Executive
Officer and sole member of the Board of Directors of the Debtor. Under this Plan, Mr. Adler will
continue in these roles for the Debtor and the Reorganized Debtor after entry of the Confirmation
Order and after the Plan Effective Date. Mr. Adler’s compensation for his role with the
Reorganized Debtor will be consistent with his historical compensation from the Debtor.

        To the extent known, the Debtor will disclose in advance of the Confirmation Hearing the
identity and affiliations of any other person proposed to become an officer of the Reorganized
Debtor or to serve on the board of directors of the Reorganized Debtor.

       The Debtor reserves all rights to amend, revise, or supplement this Exhibit D to the
Plan Supplement, and any of the documents and designations contained herein, at any time
before the Effective Date of the Plan, or any such other date as may be provided for by the
Plan or by order of the Bankruptcy Court.




EXHIBIT D                                                                               PAGE | 1
Case
 Case23-30960
      23-30960Document
               Document131-14
                        127-5 Filed
                              Filedin
                                    inTXSB
                                      TXSBon
                                           on07/27/23
                                             07/25/23 Page
                                                      Page13
                                                           1 of
                                                              of217




                 Exhibit E
    Case
     Case23-30960
          23-30960Document
                   Document131-14
                            127-5 Filed
                                  Filedin
                                        inTXSB
                                          TXSBon
                                               on07/27/23
                                                 07/25/23 Page
                                                          Page14
                                                               2 of
                                                                  of217




                                     IP Litigation Counsel

        As discussed in Article V.F., the Debtor is in discussions with certain law firms regarding
the terms of their potential retention to represent the Reorganized Debtor in connection with the
IP Claims. These discussions are ongoing and the Debtor will update this Exhibit E in an Amended
Plan Supplement in the event the Debtor formally engages any law firm to represent the
Reorganized Debtor in this role.

       The Debtor reserves all rights to amend, revise, or supplement this Exhibit E to the
Plan Supplement, and any of the documents and designations contained herein, at any time
before the Effective Date of the Plan, or any such other date as may be provided for by the
Plan or by order of the Bankruptcy Court.




EXHIBIT E                                                                                 PAGE | 1
                     Case
                      Case23-30960
                           23-30960Document
                                    Document131-14
                                             127-6 Filed
                                                   Filedin
                                                         inTXSB
                                                           TXSBon
                                                                on07/27/23
                                                                  07/25/23 Page
                                                                           Page15
                                                                                1 of
                                                                                   of317
Label Matrix for local noticing                Chamberlain, Hrdlicka, White, Williams & Aug   Energy Debt Holdings LLC
0541-4                                         c/o Jarrod B. Martin                           Attn: Kristen Blake
Case 23-30960                                  1200 Smith Street, Suite 1400                  PO Box 249
Southern District of Texas                     Houston, TX 77002-4496                         Oklahoma City, OK 73101-0249
Houston
Tue Jun 6 11:24:51 CDT 2023
Harris County                                  Ponderosa Advisors, LLC dba B3 Insight         Sourcewater, Inc.
Linebarger Goggan Blair & Sampson LLP          c/o Dickinson Wright                           1801 Main Street, Suite 1300
C/O Jeannie Lee Andresen                       c/o Dickinson Wright PLLC                      Houston, TX 77002-8121
P.O. Box 3064                                  1850 N Central Ave, Ste 1400
Houston, Tx 77253-3064                         Phoenix, AZ 85004-4568

Texas Comptroller of Public Accounts, Revenu   4                                              ADAPTIVE
John Mark Stern                                United States Bankruptcy Court                 4446 CEDAR LAKE ROAD
c/o Sherri K. Simpson, Paralegal               PO Box 61010                                   MINNEAPOLIS, MN 55416-3741
P.O. Box 12548                                 Houston, TX 77208-1010
Austin, TX 78711-2548

AIRCALL                                        AMEGY BANK                                     AMY STEWART LAW
233 PARK AVENUE S.                             BANKCARD CENTER                                5307 EAST MOCKINGBIRD LANE
NEW YORK, NY 10003-1606                        PO BOX 25787                                   SUITE 425
                                               SALT LAKE CITY, UT 84125-0787                  DALLAS, TX 75206-5486


ANN HARRIS BENNETT                             AZA - AHMAD, ZAVITSANOS, ANAIPAKOS             BONAFIDE
PO BOX 3547                                    1221 MCKINNEY                                  5318 WESLAYAN STREET
HOUSTON, TX 77253-3547                         SUITE 2500                                     SUITE 128
                                               HOUSTON, TX 77010-2021                         HOUSTON, TX 77005-1048


BTG LLC                                        BUSINESS WIRE, INC.                            CASEE LEMON
210 PARK AVENUE                                DEPARTMENT 34182                               C/O ZACH WOLFE
SUITE 1350                                     PO BOX 39000                                   ZACH WOLFE LAW FIRM
OKLAHOMA CITY, OK 73102-5631                   SAN FRANCISCO, CA 94139-0001                   50 BRIAR HOLLOW LANE, SUITE 370 WEST
                                                                                              HOUSTON, TX 77027-9300

CHURNZERO, INC.                                CROWE LLP                                      CROWN OIL PARTNERS LP
4114 BLACKTHORN STREET                         PO BOX 71570                                   PO BOX
CHEVY CHASE, MD 20815-5054                     CHICAGO, IL 60694-1570                         MIDLAND, TX 79710



(p)CUEBIQ INC                                  Comptroller of Public Accounts                 Crowe LLP
1460 BROADWAY                                  C/O Office of the Attorney General             320 E. Jefferson Blvd., PO Box 7
NEW YORK NY 10036-7329                         Bankruptcy - Collections Division MC-008       South Bend, IN 46624
                                               PO Box 12548                                   713-353-1937
                                               Austin TX 78711-2548                           john.youens@crowe.com 46624-0007

DONALD PATRICK ARTHUR YARBOROUGH               DUNLAP CODDING                                 DW HOUSE LLC
FOSTER YARBOROUGH PLLC                         609 W. SHERIDAN AVENUE                         2429 BISSONNET STREET
917 FRANKLIN STREET, SUITE 220                 OKLAHOMA CITY, OK 73102-2409                   #497
HOUSTON, TX 77002-1741                                                                        HOUSTON, TX 77005-1451


EISNER ADVISORY GROUP                          ENERGY DEBT HOLDINGS, LLC                      ENHANCED MIDSTREAM LLC
733 THIRD AVENUE                               PO BOX 249                                     777 MAIN STREET
NEW YORK, NY 10017-3242                        OKLAHOMA CITY, OK 73101-0249                   SUITE 2800
                                                                                              FORT WORTH, TX 76102-5363
                     Case
                      Case23-30960
                           23-30960Document
                                    Document131-14
                                             127-6 Filed
                                                   Filedin
                                                         inTXSB
                                                           TXSBon
                                                                on07/27/23
                                                                  07/25/23 Page
                                                                           Page16
                                                                                2 of
                                                                                   of317
EXPERFY, INC.                              FLASH DATA LLC                                FREEMAN COMPANY
1700 WEST PARK DRIVE                       2450 LOUISIANA STREET                         PO BOX 734596
SUITE 190                                  400-160                                       DALLAS, TX 75373-4596
WESTBOROUGH, MA 01581-3915                 HOUSTON, TX 77006-2380


GISH PLLC                                  HARRIS COUNTY, ET AL.                         HUBSPOT
41 MADISON AVENUE                          PO BOX 3547                                   25 1ST STREET
FLOOR 31                                   HOUSTON, TX 77253-3547                        CAMBRIDGE, MA 02141-1814
NEW YORK, NY 10010-2345


Harris County, et al                       JEFFREY H. KASS                               JOHN K. HOSKINSON
c/o Jeannie Lee Andresen                   LEWIS BRISBOIS ET AL                          888 17TH STREET NW
Linebarger Goggan Blair & Sampson LLP      1700 LINCOLN, SUITE 4000                      SUITE 210
P.O. Box 3064                              DENVER, CO 80203-4540                         WASHINGTON, DC 20006-3313
Houston, Tx 77253-3064

JOSEPH Y. AHMAD                            JOSHUA A. ADLER                               MEDLER FERRO WOODHOUSE & MILLS PLC
AHMAD ZAVITSANOS & MENSIGN, PLLC           16 ROBIN ROAD                                 8201 GREENSBORO DRIVE
1221 MCKINNEY STREET, SUITE 2 50           RYE, NH 03870-2838                            SUITE 1060
HOUSTON, TX 77010-2011                                                                   MC LEAN, VA 22102-3846


MINERALS & ROYALTY AUTHORITY               Mass. Dept. of Revenue Bankruptcy Unit        ODETTA, INC.
2602 COPPERLEAF COURT                      PO Box 7090                                   4023 KENNETT PIKE
KATY, TX 77494-5191                        Boston, MA 02204-7090                         #50380
                                                                                         WILMINGTON, DE 19807-2018


OUTLOGIC LLC                               PIPER SANDLER & CO                            PONDEROSA ADVISORS, LLC DBA B3 INSIGHT
6525 THE CORNERS PARKWAY NW                609 MAIN STREET                               C/O DONALD E. LAKE, III
SUITE 400                                  SUITE 3800                                    LEWIS BRISBOIS ET AL
NORCROSS, GA 30092-3352                    HOUSTON, TX 77002-3271                        1700 LINCOLN STREET, SUITE 4000
                                                                                         DENVER, CO 80203-4540

Ponderosa Advisors, LLC d/b/a B3 Insight   (p)QIPWORKS INC                               SCALEVIEW
c/o Dickinson Wright PLLC                  101 ARCH STREET                               701 BRAZOS STREET
Attn: Doron Yitzchaki                      FL 8                                          #530
350 S. Main Street, Suite 300              BOSTON MA 02110-7500                          AUSTIN, TX 78701-3258
Ann Arbor, MI 48104-2131

SILICA SERVICES                            SKIP MCBRIDE                                  SMALL BUSINESS ADMINISTRATION
4440 STATE HWY 121                         807 OLD LAKE ROAD                             14925 KINGSPORT ROAD
SUITE 142                                  HOUSTON, TX 77057-1103                        FORT WORTH, TX 76155-2243
THE COLONY, TX 75056-5134


SMALL BUSINESS ADMINISTRATION              (p)TEXAS COMPTROLLER OF PUBLIC ACCOUNTS       TONY ANNUNZIATO
409 THIRD STREET SW                        REVENUE ACCOUNTING DIV - BANKRUPTCY SECTION   403 W. COWAN DRIVE
WASHINGTON, DC 20024-3212                  PO BOX 13528                                  HOUSTON, TX 77007-5034
                                           AUSTIN TX 78711-3528


US Trustee                                 VECTOR ENERGY PARTNERS                        VELOTIO TECHNOLOGIES PRIVATE LIMITED
Office of the US Trustee                   777 MAIN STREET                               3RD FLOOR, AG TRADE CENTER, RAM MAGAR, B
515 Rusk Ave                               SUITE 3600                                    PUNE, MAHARASTRA 411021, INDIA
Ste 3516                                   FORT WORTH, TX 76102-5341
Houston, TX 77002-2604
                     Case
                      Case23-30960
                           23-30960Document
                                    Document131-14
                                             127-6 Filed
                                                   Filedin
                                                         inTXSB
                                                           TXSBon
                                                                on07/27/23
                                                                  07/25/23 Page
                                                                           Page17
                                                                                3 of
                                                                                   of317
VERASET LLC                                          WILLIAM CRUM HOLDINGS LLC                            Jarrod B. Martin
2810 N CHURCH STREET                                 PO BOX 50820                                         Chamberlain, Hrdlicka, White, Williams &
#38188                                               MIDLAND, TX 79710-0820                               1200 Smith Street
WILMINGTON, DE 19802-4447                                                                                 Suite 1400
                                                                                                          Houston, TX 77002-4496

Michael Kevin Riordan                                Thomas A Howley                                      c/o David E. Bott KenWood & Associates, P.C
Chamberlain, Hrdlicka, White, Williams &             Howley Law PLLC                                      14090 Southwest Freeway
1200 Smith Street                                    711 Louisiana Street, Ste. 1850                      Suite 200
Suite 1400                                           Houston, TX 77002-2790                               Sugar Land, TX 77478-3678
Houston, TX 77002-4496



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


CUEBIQ INC.                                          QIPWORKS, INC.                                       TEXAS COMPTROLLER OF PUBLIC ACCOUNTS
1460 BROADWAY                                        101 ARCH STREET                                      PO BOX 13528
SUITE 15006                                          8TH FLOOR                                            CAPITAL STATION
NEW YORK, NY 10036                                   BOSTON, MA 02110                                     AUSTIN, TX 78711-3528
                                                     SCALEVIEW
                                                     701 BRAZOS STREET



                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)SBA                                               End of Label Matrix
                                                     Mailable recipients    65
                                                     Bypassed recipients     1
                                                     Total                  66
